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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

ROBERT ORTELL,

       Plaintiff,

-vs-                                               CASE NO.: 6:19-CV-00017-PGB-KRS

CITIBANK, N.A.,

       Defendant.
                                       /

              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

          COMES NOW the Plaintiff, ROBERT ORTELL, by and through his undersigned

attorney, hereby files this Notice of Voluntary Dismissal Without Prejudice of the captioned

matter.

                                  CERTIFICATE OF SERVICE

          I hereby certify that on February 15, 2019, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system and that a Notice of this filing will be sent to all

parties of record.

                                                   /s/ Jason R. Derry, Esquire
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